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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
BMO HARRIS BANK, N.A., as Administrative                         :
Agent,                                          :                :
                                                                 :
                             Plaintiff,                          :
                                                                 :          ORDER
                   -against-                                     :
                                                                 :    20-CV-06355 (LGS)(KNF)
PRINCIPIS CAPITAL LLC, AND FF2 CORP.,                            :
                                                                 :
                             Defendants.                         :
--------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         IT IS HEREBY ORDERED that a settlement conference shall be held in the above-

captioned action on December 3, 2020, at 10:30 a.m. The conference will be held by telephone.

The parties are directed to call (888) 557-8511 and, thereafter, enter access code 4862532.

         The parties are also directed to review and comply with the undersigned’s Procedures

Applicable to Cases Referred for Settlement, which may be found on the Court’s website. As set

forth in the procedures, no later than 3 days before the conference, the parties must provide

Judge Fox: (1) a pre-conference letter; and (2) a completed attendance form, except that these

submissions shall be made via e-mail to: elizabeth_potter@nysd.uscourts.gov.

         Additionally, at least seven days prior to the settlement conference, the parties must

confer to engage in good-faith settlement negotiations. Should the parties resolve the litigation

prior to the conference date, they must notify the undersigned, in writing, expeditiously.

Dated: New York, New York                                        SO ORDERED:
       October 20, 2020
